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 6
                               UNITED STATES DISTRICT COURT
 7
                          CENTRAL DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                    Case No.: 24cr570-17-WLH
10                Plaintiff,
11                                                Unopposed EX PARTE
     vs.                                          APPLICATION FOR PRE-PLEA
12                                                CRIMINAL HISTORY REPORT
     JULIE ANN ROMERO (17),
13                Defendant.

14         Counsel for Defendant, Julie Ann Romero, requests that the Court order a

15   pre-plea criminal history report to facilitate plea negotiations.     The government

16   has no opposition to this request

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18   November 4, 2024                           /s Robert H. Rexrode
                                                Attorney for Defendant
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